e 1:22-cv-00986-GTS-CFH Document 49-31 Filed 10/13/22 Page 1




                                       AND




             OKDIISlAiSlCES
                                     OF THE




         City of Syracuse, N.Y.
             As Revised in 1885, and as Amended from          1885 to 1893

                                   INCEUSIVE,



                                TOOETHEK     with



         SPECIAL LPXIISLATIVE ENACTMENTS                        AEFECTING
                      THE CITY OK SYRACUSE.




                       SUPPLEMENT               EOR    1894.




                                SYKACUSlv, N. Y.;
                        E. M. GKOVEK, KKINTEK   AND HINDER.
1:22-cv-00986-GTS-CFH Document 49-31 Filed 10/13/22 Page 2

                         242                  LEGISLATIVE        ACTS.




                                     POLICE PENSION FUND.
                         LAW TO PROVIDE FOR A POLICE PENSION FUND FOR THE
                            SYRACUSE POLICE FORCE, BEING CHAPTER 509 OF
                            THE LAWS OF 1893.

       Police pension      Section i. The right            to   provide    and maintain    a
       fund, how
       constituted.   fund to be     known as the policjs pension fund, is hereby
                         authorized and granted to the police force of the city of
                         Syracuse, to be managed as hereinafter provided, and
                         shall consist of :

       Of relief fund.     First. The fund known as the police relief fund and
                         all interests belonging thereto, now in the hands of the
                         treasurer of the city of Syracuse, and of


       Forfeitures.        Second.   All forfeitures of fines imposed by the board
                         of police commissioners, from time               to time, upon or

                         against any member or members of the police force ;
                         and of

        Rewards,           Third. All       rewards,   fees,    gifts,    testimonials   and
        gifts, etc.
                         emoluments        that may be presented, paid or given to
                         any member of the police on account of police services,
                         except such as shall be allowed          by the board of police
                         commi.ssioners     to be retained by said board ; and of


        Lost, etc.,        Fourth. All lost, abandoned, unclaimed or stolen
        money and
        property.        money remaining in the possession               of the clerk of the
                         police board, for the     space   of one year, and for which
                         there shall be no lawful claimants, and all moneys aris-\
                         ing from    the    sale, by the    said property clerk, of un-
                         claimed, abandoned, lost, or stolen property ; and of
e 1:22-cv-00986-GTS-CFH Document 49-31 Filed 10/13/22 Page 3

                            LEGISLATIVE ACTS.                       243

          Fifth. All moneys, pay, compensation or salary or Deductions
        any part thereof, deducted or withheld from any mem-
        ber or members of the police force for or on account of
        absence,   for any cause, lost or sick time, sickness or
        other disability,   physical or mental ; and of

          Sixth    All moneys received        or   derived   from   the Receipts from
                                                                          pistol permits.
        granting or issuing of permits to carry pistols in said
        city, and the chief of police is hereby authorized to issue
        permits for such purpose, in proper cases, upon receiv-
        ing from the applicant for such permit the sum of two
        dollars and fifty cents, but no permit shall continue in
        force for more than one year ; and of

          Seventh.    Such sum per month to be paid by each Contributions,
        member of the police force as shall be agreed upon by
        the members ; and of

          Eighth. All fees received by the chief of police, cap- Bail fees,
        tains or roundsmen        for perfecting   and accepting bail
        bonds.

          § 2.   The police commissioners of said city are hereby Trustees and
                                                                          treasurer of
        made a board of trustees of said pension fund, and they

        shall, from time to time, appoint one of their number
        as treasurer of said fund, but before entering upon his
        duties he shall execute and deliver to the said board of
        trustees a bond in the penal sum of ten thousand dollars
        to be approved by the       mayor of said city and condi-
        tioned for the faithful    discharge of his duties, and that
        he shall pay over and account for all moneys and prop-

        erty which shall come into his hands as such treasurer.
